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            IN TH E UN ITED S TA TES B A N KRUP TC Y C O URT FO R
                 TH E W ES TERN D IS TRIC T O F O KL A H O M A

PATRICIA        FITE, surviving
spouse of       RANDALL FITE,
deceased,

        Plaintiff,

MARGARET ESTRADA,                                 Case No. 20-01058
Individually and as Next of Kin of
JAVIER BARRAZA, JR.,
deceased,

        Intervenor-Plaintiff,


v.

LAGOON WATER LOGISTICS, LLC,
and ELITE INFRASTRUCTURE, LLC,

        Defendants.


           A GRE E D M O TIO N FO R RE M A N D A N D N O TIC E O F
                     O P P O RTUN ITY FO R H E A RIN G

                     N O TIC E O F O P P O RTUN ITY FO R H EA RIN G

     Your righ t  s m ay be affect     ed . You sh ould read t      h is d ocum en t
     carefully an d con sultyourat      torn ey aboutyourrigh t    san d t h e effect
     of th isd ocum en t . If you do not want the Court to grant the requested relief,
     or you wish to have your views considered, you must file a written response or
     objection to the requested relief with the Clerk of the United States
     Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee
     Avenue, Oklahoma City, OK 73102 no later than 14 days from the date of filing
     of this request for relief. You should also serve a file-stamped copy of your
     response or objection to the undersigned movant/movant’s attorney [and
     others who are required to be served] and file a certificate of service with the
     Court. If no response or objection is timely filed, the Court may grant the
     requested relief without a hearing or further notice.
     Th e 1 4 d ay period in clud est   he t h ree ( 3 ) d aysallow ed form ailin g
     provid ed forin B an krupt     cy Rule 9 0 0 6 (f).


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           Patricia Fite, surviving spouse of Randall Fite, deceased, plaintiff, and Margaret

    Estrada, individually and as next of kin of Javier Barraza, Jr., deceased, plaintiff-

    intervenor (collectively, “Plaintiffs”), Lagoon Water Logistics, LLC (“Lagoon”), and Elite

    Infrastructure, LLC (“Elite” and together with “Lagoon”, “Defendants”) hereby move to

    remand the case to state court pursuant to 28 U.S.C. § 1334(c)(1) and the agreement of

    the parties.

                                     I.      B A C K GRO UN D

           This is a personal injury and wrongful death suit brought by the survivors of two

    workers, Randall Fite and Javier Barraza, Jr., arising from a March 4, 2019 oilfield

    explosion in Garfield County, Oklahoma. Plaintiffs1 filed this lawsuit against Lagoon

    and Elite, Case No. CJ-2019-2376 in the District Court of Oklahoma County, Oklahoma

    on April 29, 2019. Plaintiffs’ claims are state law claims. The parties are not completely

    diverse, as Mr. Barraza, Ms. Estrada, and Elite are all citizens of Texas.

           On May 8, 2020, during the pendency of this case, Elite filed a voluntary petition

    under Chapter 11 in the Bankruptcy Court for the Northern District of Texas, Case No.

    20-31384-hdh11 (the “Elite Bankruptcy Case”), and filed a suggestion of bankruptcy in

    state court on June 11, 2020. On June 25, 2020, Plaintiffs filed a motion for relief from

    the automatic bankruptcy stay in the Elite Bankruptcy Case, which was unopposed by

    Elite, but Lagoon indicated its opposition to the motion.

           On August 6, 2020, Lagoon removed this case to this Court, asserting removal

    jurisdiction under 28 U.S.C. § 1334(b) and 1452 on the basis that Plaintiffs’ claims

    against it are “related to” the Elite Bankruptcy Case.

         Plaintiffs are of the position that: (1) there is no removal jurisdiction because

1        This suit was originally filed by Mr. Fite, who was alive at the time but later passed away, and
         Ms. Estrada later intervened on behalf of the heirs and beneficiaries of Mr. Barraza.
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Plaintiffs’ claims against Lagoon are not “related to” the Elite Bankruptcy Case;

(2) removal was untimely under 28 U.S.C. § 1446(b); (3) Plaintiffs’ claims against Lagoon

are subject to mandatory abstention under 28 U.S.C. § 1334(c)(1); and (4) Plaintiffs’

claims against both defendants should be remanded under the permissive abstention

provisions of 28 U.S.C. § 1334(c)(2) and 1452(b).

       The parties have now resolved their dispute regarding the automatic bankruptcy

stay and this removal, and have agreed (1) to an order for relief from thestay in the Elite

Bankruptcy Case, in which Plaintiffs agreed to proceed against Elite as a nominal

defendant only to liquidate its claim against Elite’s liability insurer; and (2) to an order

remanding this case to state court.       In accordance with the parties’ agreement as

indicated by counsel’s signatures below, and pursuant to the permissive abstention

statutes, the parties request that this case be remanded to state court. Should the Court

decline to remand on that ground, Plaintiffs reserve their rights to amend and provide

additional briefing on their other asserted grounds for remand.

                                  II.     A RGUM E N T

       Plaintiffs, Lagoon, and Elite have agreed to the remand of this case to state court.

They request that the Court exercise its discretion to abstain from hearing this case

under sections 1334(c)(2) and 1452(b) and remand this case in accordance with the

parties’ agreement.

       Lagoon removed this case under section 1452(a), which allows removal of state

court claims to “the district court for the district where such civil action is pending, if

such district court has jurisdiction of such claim or cause of action under section 1334 of

this title.” 28 U.S.C. § 1452(a). Section 1334, in turn, provides that federal “district courts

shall have original but not exclusive jurisdiction of all civil proceedings arising under

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title 11, or arising in or related to cases under title 11.” 28 U.S.C. § 1334(b).

         The Court retains the discretion to remand the case back to the Oklahoma state

court:

         Except with respect to a case under Chapter 15 of title 11, nothing in this
         section prevents a district court in the interest of justice, or in the interest
         of comity with State courts or respect for State law, from abstaining from
         hearing a particular proceeding under title 11 or arising in or related to a
         case under title 11.

28 U.S.C. § 1334(c)(1). “The court to which such claim or cause of action is removed

may      remand    such    claim   or     cause    of   action   on   any   equitable   ground.”

28 U.S.C. § 1452(b).

         Here, the interest of justice, the interest of comity with State courtsand of respect

for State law, and principles of equity all weigh in favor of abstention and remand. First

and foremost, the parties have agreed to remand. Additionally, this case is brought

under state law and was been pending in state court for over a year before Elite filed its

bankruptcy petition, with the parties having conducted substantial discovery. There is

no federal question and no complete diversity of the parties, and thus no basis for

jurisdiction in this Court other than section 1334.

         Plaintiffs and Defendants respectfully request that this Court abstain from

hearing this case and remand it to state court.

                                         III.     P RA YER

         Plaintiffs and Defendants respectfully request that the Court remand this case to

the District Court of Oklahoma County.



                                        Respectfully Submitted,



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                             C ERTIFIC A TE O F S ERV IC E

   I hereby certify that on the 8th day of September, 2020, I electronically transmitted the
foregoing document to the Court Clerk using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to all ECF
registrants.


       I further certify that this document was served on all attorneys of record and/or
 unrepresented parties via U.S. Mail, postage pre-paid, as indicated below on September 8,
 2020.

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                                                 /s/John J.Griffin ,Jr.




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